     Case 2:17-md-02785-DDC-TJJ Document 1918 Filed 10/04/19 Page 1 of 6




                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS



IN RE: EpiPen (Epinephrine Injection, USP)       CASE NO.: 2:17-MD-02785-DDC-TJJ
Marketing, Sales Practices and Antitrust
Litigation                                       Hon. Daniel D. Crabtree
                                                 Hon. Teresa J. James


This Document Relates To :

SANOFI-AVENTIS U.S. LLC,                         CASE NO.: 2:17-CV-02452-DDC-TJJ

                             Plaintiff,

       v.

MYLAN Inc., et al.,

                             Defendants.


                                          EXHIBIT INDEX

Exhibit 1             Mylan, Inc. earnings call transcript, dated April 26, 2012
Exhibit 2             Cited excerpts from the Mylan Defendants’ Second Amended Responses
                      and Objections to All Plaintiffs’ First Set of Coordinated Requests for
                      Admission, dated April 30, 2018
Exhibit 3             Sanofi Press Release, dated January 28, 2013 (available at:
                      http://www.news.sanofi.us/press-releases?item=136807)
Exhibit 4             Sanofi Press Release, dated October 30, 2015 (available at:
                      http://www.news.sanofi.us/2015-10-28-Sanofi-US-Issues-Voluntary-
                      Nationwide-Recall-of-Auvi-Q-Due-to-Potential-Inaccurate-Dosage-
                      Delivery)
Exhibit 5             Cited excerpts from the Mylan Defendants’ Responses and Objections to
                      All Plaintiffs’ First Set of Coordinated Requests for Admission, dated
                      January 4, 2018
Exhibit 6             Cited excerpts from the Mylan Defendants’ Amended Responses and
                      Objections to All Plaintiffs’ First Set of Coordinated Requests for
                      Admission, dated February 14, 2018
Exhibit 7             Cited excerpts from the transcript of the Status Conference held before the
                      Honorable Judge Daniel D. Crabtree on May 9, 2018
     Case 2:17-md-02785-DDC-TJJ Document 1918 Filed 10/04/19 Page 2 of 6




Exhibit 8         Letter from Eric S. Hochstadt, counsel for Sanofi, to Philip A. Sechler,
                  counsel for the Mylan Defendants, dated June 3, 2019
Exhibit 9         Letter from Philip A. Sechler, counsel for the Mylan Defendants, to Eric
                  S. Hochstadt, counsel for Sanofi, dated June 20, 2019
Exhibit 11        Pamphlet posted on Mylan’s website entitled, “Anaphylaxis.” (available
                  at: https://www.mylan.com/-/media/mylancom/files/patient-
                  materials/myguide_anaphylaxis.pdf)
Exhibit 13        Cited excerpts from the 30(b)(1) deposition transcript of Heather Bresch,
                  dated October 9, 2018
Exhibit 14        Cited excerpts from the 30(b)(6) deposition transcript of Roger Graham,
                  dated August 30, 2018
Exhibit 15        Cited excerpts from the deposition transcript of Gary Zieziula, dated May
                  31, 2019
Exhibit 17        Cited excerpts from the Mylan, N.V. Annual Report Form 10-K filed with
                  the SEC, dated February 21, 2012
Exhibit 18        Mylan, Inc. earnings conference call transcript, dated October 26, 2011
Exhibit 23        Letter from Kate C. Beardsley, Mylan’s outside counsel, to Anne
                  Whitaker, Sanofi’s President of North America Pharmaceuticals, dated
                  January 29, 2013
Exhibit 33        Cited excerpts from the 30(b)(1) deposition transcript of Ron Graybill,
                  dated September 21, 2018
Exhibit 34        Cited excerpts from the 30(b)(1) deposition transcript of Harry Jordan,
                  dated October 26, 2018
Exhibit 35        Cited excerpts from the deposition transcript of Thomas Varner, Ph.D.
                  dated May 29, 2019.
Exhibit 37        Cited excerpts from the deposition transcript of Robert Willig, Ph.D, dated
                  May 29, 2019
Exhibit 38        Cited excerpts from the 30(b)(6) deposition transcript of Jeff May, dated
                  September 21, 2018
Exhibit 40        Mylan Specialty L.P. Memorandum of Law in Support of Plaintiff’s
                  Motion for a Status Quo Preliminary Injunction with exhibits, dated
                  March 25, 2015, No. 15-C-584 (Circuit Court of Kanawha County, West
                  Virginia)
Exhibit 41        Cited excerpts from the 30(b)(6) deposition transcript of Sylvain
                  Rocheleau, dated September 26, 2018
Exhibit 50        Mylan slide presentation entitled, “Why Mylan? See inside. When was the
                  last time a pharmaceutical company let you inside?”, dated May 22, 2012
Exhibit 57        Cited excerpts from the 30(b)(1) deposition transcript of Bruce Foster,
                  dated June 14, 2018
Exhibit 58        Cited excerpts from the 30(b)(1) deposition transcript of Roger Graham,
                  dated August 29, 2018

                                           2
    Case 2:17-md-02785-DDC-TJJ Document 1918 Filed 10/04/19 Page 3 of 6




Exhibit 59       Cited excerpts from the 30(b)(1) deposition transcript of Thomas Hadley,
                 dated October 3, 2018
Exhibit 60       Cited excerpts from the 30(b)(1) deposition of Patrick Jones, dated
                 September 7, 2018
Exhibit 61       Cited excerpts from the 30(b)(1) deposition transcript of Pranay Patel,
                 dated July 7, 2018
Exhibit 62       Cited excerpts from the 30(b)(1) deposition transcript of Scott Sussman,
                 dated September 13, 2018
Exhibit 63       Cited excerpts from the 30(b)(1) deposition transcript of Nicole Willing,
                 dated May 31, 2018
Exhibit 65       Transcript from Cowen & Co. Healthcare Conference, dated March 4,
                 2014
Exhibit 66       Cited excerpts from a Mylan Analyst/Investor Day transcript, dated
                 August 1, 2013
Exhibit 68       Cited excerpt from the 30(b)(1) deposition transcript of Sherry
                 Korczynski, dated August 24, 2018
Exhibit 71       24/7 Wall St. article written by Jon C. Ogg entitled, “Concerns Persist on
                 Mylan EpiPen Price Gouging,” dated August 26, 2016 (available at:
                 https://247wallst.com/healthcare-business/2016/08/24/more-concerns-
                 persist-on-mylan-epipen-price-gouging-or-do-they/.)
Exhibit 72       Email from Thomas Handel to Diem Nguyen, et al., dated August 26,
                 2016, attaching a Meridian Medical Technologies slide presentation
                 entitled, “EpiPen Historical Summary,” dated August 26, 2016
Exhibit 73       Cited excerpts from the 30(b)(1) deposition transcript of Patrick Zinn,
                 dated August 22, 2018
Exhibit 75       Email from Roger Graham to Damian Frantz, dated September 3, 2014
Exhibit 77       Email from Diem Nguyen to Tom Handel, dated August 23, 2016
Exhibit 78       Cited excerpts from the 30(b)(1) deposition transcript of Thomas Handel,
                 dated October 17, 2018
Exhibit 80       United States EpiPen Profitability Analysis
Exhibit 94       Email from Nicole Willing to Ron Graybill, dated September 13, 2013
Exhibit 100      Cited excerpts from the 30(b)(6) deposition transcript of Saira Jan, dated
                 November 30, 2018
Exhibit 106      March 9, 2016 UBS Global Research Report, entitled “Mylan Inc.: Who
                 Doesn’t Enjoy a Chat with Robert Coury?”, dated March 9, 2016
Exhibit 107      New York Times article written by Katie Thomas entitled, “Brothers
                 Develop New Device to Halt Allergy Attacks,” dated February 1, 2013
                 (available at: https://www.nytimes.com/2013/02/02/business/auvi-q-
                 challenges-epipen-with-a-new-shape-and-size.html)
Exhibit 109      Cited excerpts from the 30(b)(6) deposition of Philip Lin Huang, Ph.D,
                 dated September 25, 2018

                                          3
    Case 2:17-md-02785-DDC-TJJ Document 1918 Filed 10/04/19 Page 4 of 6




Exhibit 120      2013 Sanofi promotional pamphlet for the Auvi-Q
Exhibit 121      2013 Sanofi promotional pamphlet for the Auvi-Q
Exhibit 122      2013 Sanofi promotional pamphlet for the Auvi-Q
Exhibit 123      2015 Sanofi promotional pamphlet for the Auvi-Q
Exhibit 124      2015 Sanofi promotional pamphlet for the Auvi-Q
Exhibit 125      Article published in the Journal of Allergy and Clinical Immunology: In
                 Practice article written by Carlos A. Camargo, et al., entitled, “Auvi-Q
                 Versus EpiPen: Preferences of Adults, Caregivers, and Children,” dated
                 2013
Exhibit 126      Sanofi Government Agency Contact Report, dated February 8, 2011
Exhibit 127      Letter from James Parker to Elaine Hu Cunningham of the FDA, dated
                 June 17, 2011, with attachment
Exhibit 128      Sanofi Government Agency Contact Report, dated August 8, 2011
Exhibit 129      Sanofi meeting minutes, dated August 23, 2011
Exhibit 130      Letter from Elaine Hu Cunningham of the FDA to James Parker, Jr., dated
                 August 11, 2011
Exhibit 131      Slide presentation, entitled “Auvi-Q™ (epinephrine injection, USP)
                 Preference Data Rollout VC,” dated February 5, 2013
Exhibit 132      Email chain between Kevin Boe, Natalie, Mancuso, and Lorine Harr,
                 dated March 28, 2013, with attachments
Exhibit 133      Cited excerpts from the 30(b)(1) deposition transcript of James Parker,
                 dated October 30, 2018
Exhibit 134      Letter from John Cook to Julie Burger Chronis of the FDA, dated August
                 14, 2015, with attachments
Exhibit 136      Letter from Carmen M. Shepard to Roberta Szydlo, dated March 28, 2013,
                 with attachments
Exhibit 137      Cited excerpts from the 30(b)(6) deposition transcript of Jay York, dated
                 August 1, 2018
Exhibit 138      Email chain between Ken L. Metz to Katie Quast, et al., dated November
                 15, 2012
Exhibit 140      Cited excerpts from the deposition transcript of Michael S. Blaiss, M.D.,
                 dated May 17, 2019
Exhibit 141      Letter from Alexandra W. Miller to Randi W. Singer and Kathleen
                 O’Connor, dated March 23, 2015, with attachments
Exhibit 142      Email chain between Matthew Kinkead and Joseph Denney copying
                 Courtney Spezia, dated November 5, 2012
Exhibit 143      Cited excerpts from a Mylan slide presentation entitled, “Competitive
                 Intelligence Update,” dated for the week ending April 19, 2013
Exhibit 144      Email from Jay York to Sherry Korczynski and Bob Potter, dated
                 September 26, 2013
Exhibit 148      Supplemental Expert Disclosure of Thomas R. Varner, PH.D, dated June
                                         4
    Case 2:17-md-02785-DDC-TJJ Document 1918 Filed 10/04/19 Page 5 of 6




                 26, 2019
Exhibit 149      Letter from Carmen M. Sheppard to Matthew J. Falter, dated March 12,
                 2013
Exhibit 152      Wall Street Journal article written by Johnathan D. Rockoff, et al.,
                 entitled, “Mylan CEO Faces Tough Questioning in Congressional EpiPen
                 Hearing,” dated September 22, 2016 (available at:
                 https://www.wsj.com/articles/mylan-ceo-to-shift-blame-on-epipen-
                 pricing-at-house-hearing-1474466910)




                                        5
     Case 2:17-md-02785-DDC-TJJ Document 1918 Filed 10/04/19 Page 6 of 6




                                  CERTIFICATE OF SERVICE

       I hereby certify that on October 4, 2019, the foregoing was filed via CM-ECF and by

email to all counsel of record.


                                                       /s/ Eric S. Hochstadt
                                                       Eric S. Hochstadt




                                            6
